           Case:20-17543-MER Doc#:21 Filed:11/30/20                                                   Entered:11/30/20 10:00:23 Page1 of 21

 Fill in this information to identify the case:

 Debtor name          Clean Energy Collective, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)              20-17543
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Black Coral Capital, LLC                      Describe debtor's property that is subject to a lien              $5,450,675.40             $1,853,055.43
        Creditor's Name                               Substantially all assets; First Solar also has
        110 West 7th Street, Suite                    lien on same property.
        2000
        Attn: Scott Rowland
        Tulsa, OK 74119
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known               Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        First Solar Distributed
 2.2                                                                                                                  $27,685,981.88              $1,853,055.43
        Generation LLC                                Describe debtor's property that is subject to a lien
        Creditor's Name                               Substantially all assets; Black Coral also has
        350 West Washington                           lien on same property.
        Street, Suite 600
        Tempe, AZ 85281
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known               Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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 Debtor       Clean Energy Collective, LLC                                                              Case number (if known)       20-17543
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                                 $33,136,657.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                           28

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Clean Energy Collective, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)          20-17543
                                                                                                                                               Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $200.00         $200.00
           New Mexico Taxation and Revenue                           Check all that apply.
           Departme                                                   Contingent
           PO Box 25127                                               Unliquidated
           Santa Fe, NM 87504                                         Disputed
           Date or dates debt was incurred                           Basis for the claim:
           3/1/2020
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                    $241,900.00          $13,650.00
           Paul Spencer                                              Check all that apply.
           5000 Bear Ridge Road                                       Contingent
           Basalt, CO 81621                                           Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Severance - $82,400
           3/31/2020                                                 Tax Distribution - $159,500
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 14
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 Debtor       Clean Energy Collective, LLC                                                                    Case number (if known)   20-17543
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $65,925.00         $13,650.00
           Sam Cunningham                                            Check all that apply.
           319 S. Peak Road                                           Contingent
           Boulder, CO 80302                                          Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           3/31/2020                                                 Severance
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            $160.17        $160.17
           Town of West Haven                                        Check all that apply.
           PO Box 1611                                                Contingent
           Carol Stream, IL 60197                                     Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           10/31/2020                                                property taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $7,950.00         $7,950.00
           Vermont Department of Taxes                               Check all that apply.
           133 State Street                                           Contingent
           Montpelier, VT 05602                                       Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           3/1/2020
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.6       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $1,977.66         $1,977.66
           Wisconsin Dept of Revenue                                 Check all that apply.
           PO Box 930208                                              Contingent
           Milwaukee, WI 53293                                        Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           9/16/2020
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 14
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 Debtor       Clean Energy Collective, LLC                                                            Case number (if known)            20-17543
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,550.00
          367 US Route 1, Inc.                                                Contingent
          198 Saco Avenue                                                     Unliquidated
          Old Orchard Beach, ME 04064                                         Disputed
          Date(s) debt was incurred 4/22/2020
                                                                             Basis for the claim:    Rent for Maine Office
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No     Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $262.80
          Alpine Environmental Consultants-James U                            Contingent
          PO Box 145                                                          Unliquidated
          Montgomery, NY 12549                                                Disputed
          Date(s) debt was incurred 4/15/2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $3,000,000.00
          Ameresco, Inc.                                                      Contingent
          111 Speen Street, Suite 410                                         Unliquidated
          Framingham, MA 01701                                                Disputed
          Date(s) debt was incurred
                                                                                            Sale price adjustment related to sales out of Clean
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Energy Holdco 1, LLC
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,880.00
          Ameresco, Inc.                                                      Contingent
          111 Speen Street, Suite 410                                         Unliquidated
          Framingham, MA 01701                                                Disputed
          Date(s) debt was incurred 8/1/2019
                                                                             Basis for the claim:    Invoice for services on sold projects
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $800,000.00
          ANB Bank                                                            Contingent
          3033 E. First Avenue                                                Unliquidated
          Operations Suite #200                                               Disputed
          Denver, CO 80206
                                                                             Basis for the claim:    PPP Loan
          Date(s) debt was incurred 4/15/2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          ANB Bank                                                            Contingent
          3033 E. First Avenue                                                Unliquidated
          Denver, CO 80206                                                    Disputed
          Date(s) debt was incurred      7/23/2020                           Basis for the claim:    CEC Trustee Fee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $270,000.00
          ANB Bank                                                            Contingent
          3033 E. First Avenue                                                Unliquidated
          Denver, CO 80206                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CEC guaranteed debt for CEC Solar #1112, LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 14
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 Debtor       Clean Energy Collective, LLC                                                            Case number (if known)            20-17543
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,714.67
          AT&T-CPS                                                            Contingent
          PO Box 5011                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred 10/25/2019
                                                                             Basis for the claim:    T1 service to project site - contract may be in CEC
          Last 4 digits of account number 3013                               name
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,057.05
          Baker and Hostetler LLP                                             Contingent
          PO Box 70189                                                        Unliquidated
          Cleveland, OH 44190                                                 Disputed
          Date(s) debt was incurred 2/17/2020
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Bart Rupert                                                         Contingent
          1136 Nestling Court
          Gulf Breeze, FL 32563
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Tax Distribution
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $43,000.00
          Black Coral Capital, LLC                                            Contingent
          110 West 7th Street, Suite 2000
          Attn: Scott Rowland
                                                                              Unliquidated
          Tulsa, OK 74119                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Tax Distribution
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Blue Fish                                                           Contingent
          920 Dauphin Street                                                  Unliquidated
          Mobile, AL 36604                                                    Disputed
          Date(s) debt was incurred      2/14/2020                           Basis for the claim:    Software Development Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $60,000.00
          Bonsai Communities, LLC                                             Contingent
          401 Tree Farm Drive
          Carbondale, CO 81623
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Tax Distribution
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $771,748.29
          Borrego Solar Systems, Inc.                                         Contingent
          1814 Franklin Street, Suite 700                                     Unliquidated
          Oakland, CA 94612                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Judgment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 14
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 Debtor       Clean Energy Collective, LLC                                                            Case number (if known)            20-17543
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,282.90
          Capital Business Systems Inc                                        Contingent
          PO Box 508                                                          Unliquidated
          Cheyenne, WY 82003                                                  Disputed
          Date(s) debt was incurred 2/19/2020
                                                                             Basis for the claim:    copier maintenance contract
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $59.00
          Charter Communications                                              Contingent
          PO Box 60187                                                        Unliquidated
          Los Angeles, CA 90060                                               Disputed
          Date(s) debt was incurred 8/1/2020
                                                                             Basis for the claim:    internet Auburn and Maine offices
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,000.00
          Coalition for Community Solar Access                                Contingent
          1380 Monroe Street, NW #721                                         Unliquidated
          Washington, DC 20010                                                Disputed
          Date(s) debt was incurred 3/4/2020
                                                                             Basis for the claim:    Membership Dues
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,745.00
          Colorado Solar & Storage Association                                Contingent
          1536 Wynkoop St Ste 104                                             Unliquidated
          Denver, CO 80202                                                    Disputed
          Date(s) debt was incurred 2/27/2020
                                                                             Basis for the claim:    Membership Dues
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,520.31
          Comcast                                                             Contingent
          PO Box 34744                                                        Unliquidated
          Seattle, WA 98124                                                   Disputed
          Date(s) debt was incurred      8/21/2020                           Basis for the claim:    Broadband for office plus cancel fee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $753.00
          Commissioner of Taxation & Finance                                  Contingent
          328 State Street, Rm 331                                            Unliquidated
          Schenectady, NY 12305                                               Disputed
          Date(s) debt was incurred 7/23/2020
                                                                             Basis for the claim:    NY Work Comp
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $944.00
          Crayon Software Experts LLC                                         Contingent
          12221 Merit Drive, Suite 800                                        Unliquidated
          Dallas, TX 75251                                                    Disputed
          Date(s) debt was incurred 2/26/2020
                                                                             Basis for the claim:    Software Subscription
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Clean Energy Collective, LLC                                                            Case number (if known)            20-17543
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $127,036.14
          CV 363 Centennial Parkway, LLC                                      Contingent
          5291 East Yale Avenue                                               Unliquidated
          Denver, CO 80222                                                    Disputed
          Date(s) debt was incurred 5/20/2020
                                                                             Basis for the claim:    Rent for CO office
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          David Marrs                                                         Contingent
          0528 Larkspur Drive
          Carbondale, CO 81623
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Tax Distrbiution
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,341.50
          Dentons US LLP                                                      Contingent
          PO Box Dept 3078                                                    Unliquidated
          Carol Stream, IL 60132                                              Disputed
          Date(s) debt was incurred 7/31/1010
                                                                             Basis for the claim:    Trademark filing fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,150.00
          ECAD, Inc                                                           Contingent
          PO Box 51507                                                        Unliquidated
          Midland, TX 79710                                                   Disputed
          Date(s) debt was incurred      2/18/2020                           Basis for the claim:    Software Subscription
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $312.22
          Experian - Information Solutions, Inc.                              Contingent
          PO Box 881971                                                       Unliquidated
          Los Angeles, CA 90088                                               Disputed
          Date(s) debt was incurred 7/23/2020
                                                                             Basis for the claim:    Subscription
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $200,000.00
          Exyte Energy f/k/a M+W Energy Inc                                   Contingent
          1095 Morris Ave, Suite 102                                          Unliquidated
          Union, NJ 07083                                                     Disputed
          Date(s) debt was incurred 6/26/2018
                                                                             Basis for the claim:    Project Costs
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $702.17
          FedEx                                                               Contingent
          PO Box 17212                                                        Unliquidated
          Wilmington, DE 19850                                                Disputed
          Date(s) debt was incurred 6/25/2020
                                                                             Basis for the claim:    Shipping
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Clean Energy Collective, LLC                                                            Case number (if known)            20-17543
              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $120,000.00
          First Solar Distributed Generation, LLC                             Contingent
          350 West Washington Street, Suite 600
          Tempe, AZ 85281
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Tax Distribution
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,000.00
          Fuse Energy                                                         Contingent
          12 Winding Way                                                      Unliquidated
          PO Box 333                                                          Disputed
          Groton, MA 01450
                                                                             Basis for the claim:    Independent Sales Rep fees
          Date(s) debt was incurred      3/25/2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,567.59
          Goddard Consulting                                                  Contingent
          291 Main Street                                                     Unliquidated
          Suite 8                                                             Disputed
          Northborough, MA 01532
                                                                             Basis for the claim:
          Date(s) debt was incurred 5/12/2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $375,000.00
          Great Western Bank                                                  Contingent
          225 S. Main Avenue                                                  Unliquidated
          Sioux Falls, SD 57104                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    CEC guaranteed debt of CS Solar 1, LLC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,897.14
          Great-West Trust Company LLC                                        Contingent
          PO Box 561148                                                       Unliquidated
          Denver, CO 80256                                                    Disputed
          Date(s) debt was incurred 10/22/2020
                                                                             Basis for the claim:    401K Quarterly Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22.86
          Green Mountain Power                                                Contingent
          PO Box 1611                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred 10/31/2020
                                                                             Basis for the claim:    Utility connection
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $54,311.44
          Indexed I/O, CORP                                                   Contingent
          3457 Ringsby Court, Suite 215                                       Unliquidated
          Denver, CO 80216                                                    Disputed
          Date(s) debt was incurred 1/31/2020
                                                                             Basis for the claim:    Data Storage - Borrego case
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Clean Energy Collective, LLC                                                            Case number (if known)            20-17543
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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,821.36
          Infinisource Benefit Services                                       Contingent
          PO Box 889                                                          Unliquidated
          Coldwater, MI 49036                                                 Disputed
          Date(s) debt was incurred 8/25/2020
                                                                             Basis for the claim:    Service Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $376.42
          Iron Mountain, Inc.                                                 Contingent
          PO Box 915004                                                       Unliquidated
          Dallas, TX 75391                                                    Disputed
          Date(s) debt was incurred      2/29/2020                           Basis for the claim:    Shredding Service
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,150.54
          Jackson Lewis PC                                                    Contingent
          PO Box 416019                                                       Unliquidated
          Boston, MA 02241                                                    Disputed
          Date(s) debt was incurred      4/14/2020                           Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.00
          Jerian Hunter                                                       Contingent
          422 S Centerville Road                                              Unliquidated
          Middletown, NY 10940                                                Disputed
          Date(s) debt was incurred 1/3/2019
                                                                             Basis for the claim:    Project Costs
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $72.03
          LogMeIn Inc                                                         Contingent
          PO Box 50264                                                        Unliquidated
          Los Angeles, CA 90074                                               Disputed
          Date(s) debt was incurred 3/19/2020
                                                                             Basis for the claim:    Software Subscription
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Marcum LLP                                                          Contingent
          6685 Beta Dr                                                        Unliquidated
          Cleveland, OH 44143                                                 Disputed
          Date(s) debt was incurred      2/29/2020                           Basis for the claim:    Software audit fees for 2019
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,600.00
          Maria Flores DBA Azores Cleaning                                    Contingent
          82 Wheatland Street                                                 Unliquidated
          Somerville, MA 02145                                                Disputed
          Date(s) debt was incurred 3/1/2020
                                                                             Basis for the claim:    Cleaning MA office
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,167.98
          Masergy Cloud                                                       Contingent
          PO Box 733939                                                       Unliquidated
          Dallas, TX 75373                                                    Disputed
          Date(s) debt was incurred      3/17/2020                           Basis for the claim:    Telephone service provider
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,250.00
          Meltwater News US Inc                                               Contingent
          Dept LA 23721                                                       Unliquidated
          Pasadena, CA 91185                                                  Disputed
          Date(s) debt was incurred 3/11/2020
                                                                             Basis for the claim:    Marketing subscription
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,389.16
          Microsoft Corporation                                               Contingent
          1950 N Stemmons Fwy                                                 Unliquidated
          Suite 5010 LB 842467                                                Disputed
          Dallas, TX 75207
                                                                             Basis for the claim:    data storage fees
          Date(s) debt was incurred 6/13/2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $239.79
          Minnesota Revenue                                                   Contingent
          Mail Station 1765                                                   Unliquidated
          Saint Paul, MN 55145                                                Disputed
          Date(s) debt was incurred      10/31/2020                          Basis for the claim:    tax and accounting
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,225.14
          National Grid (Newark)                                              Contingent
          PO Box 11737                                                        Unliquidated
          Newark, NJ 07101                                                    Disputed
          Date(s) debt was incurred 2/20/2020
                                                                             Basis for the claim:    MA office suplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,500.00
          NEC Community Lender, LLC                                           Contingent
          Brandywine Plaza West
          1521 Concord Pike (US 202), Suite 301
                                                                              Unliquidated
          Wilmington, DE 19803                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Tax Distribution
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,185.74
          New York State Dept of Environment Conse                            Contingent
          701 S Main Street                                                   Unliquidated
          Northville, NY 12134                                                Disputed
          Date(s) debt was incurred 11/18/2019
                                                                             Basis for the claim:    Authorization Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,200.00
          Northeast Clean Energy Council                                      Contingent
          250 Summer Street                                                   Unliquidated
          5th Floor                                                           Disputed
          Boston, MA 02210
                                                                             Basis for the claim:    Membership Dues
          Date(s) debt was incurred 1/14/2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7.80
          Northwest Parkway                                                   Contingent
          3701 Northwest Parkway                                              Unliquidated
          Broomfield, CO 80023                                                Disputed
          Date(s) debt was incurred 7/12/2020
                                                                             Basis for the claim:    Tolls
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          NY SEIA                                                             Contingent
          PO Box 1523                                                         Unliquidated
          Long Island City, NY 11101                                          Disputed
          Date(s) debt was incurred 12/19/2019
                                                                             Basis for the claim:    Membership Dues
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $503.00
          NYS Workers Compensation Board                                      Contingent
          328 State St, Rm 331                                                Unliquidated
          Schenectady, NY 12305                                               Disputed
          Date(s) debt was incurred 10/15/2020
                                                                             Basis for the claim:    Non Compliance Fee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $216.20
          NYSIF Disability Benefits                                           Contingent
          PO Box 5239                                                         Unliquidated
          New York, NY 10008                                                  Disputed
          Date(s) debt was incurred 10/20/2020
                                                                             Basis for the claim:    Disability Benefits
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,200.00
          Outreach Corporation                                                Contingent
          333 Elliott Avenue W #500                                           Unliquidated
          Seattle, WA 98119                                                   Disputed
          Date(s) debt was incurred 3/27/2020
                                                                             Basis for the claim:    Annual Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $37,936.72
          Paino Associates, LLC                                               Contingent
          395 Totten Pond Road, Suite 304                                     Unliquidated
          Wellesley Hills, MA 02481                                           Disputed
          Date(s) debt was incurred 4/1/2020
                                                                             Basis for the claim:    MA office lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No     Yes




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 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,250.00
          Pinnacle Energy                                                     Contingent
          PO Box 176                                                          Unliquidated
          Jefferson, MA 01522                                                 Disputed
          Date(s) debt was incurred      3/2/2020                            Basis for the claim:    Independent Sales Rep fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $47.05
          Pinnacle Investigations                                             Contingent
          920 N. Argonne Road, Suite 200                                      Unliquidated
          Spokane, WA 99212                                                   Disputed
          Date(s) debt was incurred 3/1/2020
                                                                             Basis for the claim:    Background checks
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $303.25
          Pitney Bowes Purchase Power                                         Contingent
          PO Box 371874                                                       Unliquidated
          Pittsburgh, PA 15250                                                Disputed
          Date(s) debt was incurred 9/11/2020
                                                                             Basis for the claim:    Postage Meter
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,510.50
          Plante & Moran, PLLC                                                Contingent
          16060 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred 6/11/2020
                                                                             Basis for the claim:    tax and accounting
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,600.00
          Prime Engineering Inc                                               Contingent
          PO Box 1088                                                         Unliquidated
          Lakeville, MA 02347                                                 Disputed
          Date(s) debt was incurred 2/27/2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,150.00
          Quest Energy Solutions                                              Contingent
          93 Stafford Street Ste 202                                          Unliquidated
          Worcester, MA 01603                                                 Disputed
          Date(s) debt was incurred 3/3/2020
                                                                             Basis for the claim:    Independent Sales Rep fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $258.52
          Ram Computer Supply Inc                                             Contingent
          14901 East Hampden Avenue, Suite 315                                Unliquidated
          Aurora, CO 80014                                                    Disputed
          Date(s) debt was incurred 2/4/2020
                                                                             Basis for the claim:    IT Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71.00
          Ready ReFresh                                                       Contingent
          PO Box 856192                                                       Unliquidated
          Louisville, KY 40285                                                Disputed
          Date(s) debt was incurred      3/12/2020                           Basis for the claim:    MA water subscription
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,154.14
          Robert N. Thornton                                                  Contingent
          1166 Linda Ave                                                      Unliquidated
          Ashland, OR 97520                                                   Disputed
          Date(s) debt was incurred      3/15/2020                           Basis for the claim:    Consulting Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,500.25
          Roy W. Penny, Jr. PC                                                Contingent
          1129 E 17th Avenue                                                  Unliquidated
          Denver, CO 80218                                                    Disputed
          Date(s) debt was incurred 1/31/2020
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,641.09
          SalesForce.com                                                      Contingent
          PO Box 203141                                                       Unliquidated
          Dallas, TX 75320                                                    Disputed
          Date(s) debt was incurred      10/31/2020                          Basis for the claim:    Annual software subscription
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $43,125.00
          SEIA                                                                Contingent
          1425 K Street N.W., Suite 1000                                      Unliquidated
          Suite 400                                                           Disputed
          Washington, DC 20005
                                                                             Basis for the claim:    Membership dues
          Date(s) debt was incurred 4/19/2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,500.00
          Single Source Energy Solutions, Inc                                 Contingent
          7 Bay Cliff Circle                                                  Unliquidated
          Plymouth, MA 02360                                                  Disputed
          Date(s) debt was incurred 2/19/2020
                                                                             Basis for the claim:    Independent Sales Rep fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,005.90
          Solar Power Financial                                               Contingent
          30 S. 31st Street                                                   Unliquidated
          Boulder, CO 80305                                                   Disputed
          Date(s) debt was incurred 11/4/2020
                                                                             Basis for the claim:    Project Origination Fee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $230.00
          Some Like It Green                                                  Contingent
          8773 West Iliff Lane                                                Unliquidated
          Denver, CO 80227                                                    Disputed
          Date(s) debt was incurred      4/1/2020                            Basis for the claim:    CO office plant care
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $367.70
          Source Office & Technology                                          Contingent
          13350 West 43rd Drive                                               Unliquidated
          Golden, CO 80403                                                    Disputed
          Date(s) debt was incurred 3/2/2020
                                                                             Basis for the claim:    Office Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27.00
          Survey Monkey                                                       Contingent
          One Curiosity Way                                                   Unliquidated
          San Mateo, CA 94403                                                 Disputed
          Date(s) debt was incurred 11/7/2017
                                                                             Basis for the claim:    Subscription
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          Taylored Feats Inc.                                                 Contingent
          7439 Ivy Hills Place, #201                                          Unliquidated
          Cincinnati, OH 45244                                                Disputed
          Date(s) debt was incurred 2/16/2020
                                                                             Basis for the claim:    Consulting fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          The Energy Executives, LLC                                          Contingent
          1028 Boulevard Suite 301                                            Unliquidated
          West Hartford, CT 06119                                             Disputed
          Date(s) debt was incurred 1/9/2020
                                                                             Basis for the claim:    Membership Dues
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $183,308.41
          The Matt Group Ltd.                                                 Contingent
          525 East 72nd Street, Apartment 14i                                 Unliquidated
          New York, NY 10021                                                  Disputed
          Date(s) debt was incurred 4/25/2019
                                                                             Basis for the claim:    Project Origination Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,527.42
          Thomson Reuters-West                                                Contingent
          PO Box 6292                                                         Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred 2/1/2020
                                                                             Basis for the claim:    Legal research library
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.78      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $71.46
           Time Warner Cable (Spectrum)                                       Contingent
           PO Box 4617                                                        Unliquidated
           Carol Stream, IL 60197                                             Disputed
           Date(s) debt was incurred 7/2/2020
                                                                             Basis for the claim:    ME office broadband
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,393.18
           Verizon Wireless                                                   Contingent
           PO Box 660108                                                      Unliquidated
           Dallas, TX 75266-0108                                              Disputed
           Date(s) debt was incurred 10/31/2020
                                                                             Basis for the claim:    telephone service provider
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $294.11
           Vernon Electric Co-Op                                              Contingent
           110 Saugstad Road                                                  Unliquidated
           Carol Stream, IL 60197                                             Disputed
           Date(s) debt was incurred 10/1/2020
                                                                             Basis for the claim:    Utility Connection
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $16,160.84
           Willis of North Carolina Inc.                                      Contingent
           29754 Network Place                                                Unliquidated
           Chicago, IL 60673                                                  Disputed
           Date(s) debt was incurred 6/30/2020
                                                                             Basis for the claim:    Insurance
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $52,500.00
           Willis Towers Watson Southeast, Inc.                               Contingent
           29982 Network Place                                                Unliquidated
           Chicago, IL 60673                                                  Disputed
           Date(s) debt was incurred 1/30/2020
                                                                             Basis for the claim:    Insurance
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                      318,112.83
 5b. Total claims from Part 2                                                                            5b.    +   $                    6,544,146.78

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        6,862,259.61




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 14 of 14
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 Fill in this information to identify the case:

 Debtor name         Clean Energy Collective, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)         20-17543
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Alburgh Solar 1                   PO Box 270927                                    First Solar                     D        2.2
             LLC                               Louisville, CO 80027                             Distributed                      E/F
                                               Guarantor                                        Generation LLC
                                                                                                                                G



    2.2      Alburgh Solar 1,                  PO Box 270927                                    Black Coral Capital,            D        2.1
             LLC                               Louisville, CO 80027                             LLC                              E/F
                                               Guarantor
                                                                                                                                G



    2.3      CE Services, LLC                  PO Box 270927                                    First Solar                     D        2.2
                                               Louisville, CO 80027                             Distributed                      E/F
                                               Guarantor                                        Generation LLC
                                                                                                                                G



    2.4      CE Services, LLC                  PO Box 270927                                    Black Coral Capital,            D        2.1
                                               Louisville, CO 80027                             LLC                              E/F
                                               Guarantor
                                                                                                                                G



    2.5      CEC                               PO Box 270927                                    First Solar                     D        2.2
             Development,                      Louisville, CO 80027                             Distributed                      E/F
             LLC                               Guarantor                                        Generation LLC
                                                                                                                                G




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 Debtor       Clean Energy Collective, LLC                                           Case number (if known)   20-17543


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      CEC                               PO Box 270927                              Black Coral Capital,           D       2.1
             Development,                      Louisville, CO 80027                       LLC                             E/F
             LLC                               Guarantor
                                                                                                                         G



    2.7      CEC Renewable                     PO Box 270927                              First Solar                    D       2.2
             Assets, LLC                       Louisville, CO 80027                       Distributed                     E/F
                                               Guarantor                                  Generation LLC
                                                                                                                         G



    2.8      CEC Renewable                     PO Box 270927                              Black Coral Capital,           D       2.1
             Assets, LLC                       Louisville, CO 80027                       LLC                             E/F
                                               Guarantor
                                                                                                                         G



    2.9      CEC Solar #1112,                  PO Box 270927                              ANB Bank                       D
             LLC                               Louisville, CO 80027                                                       E/F       3.7
                                                                                                                         G



    2.10     CEC Solar Fund                    PO Box 270927                              First Solar                    D       2.2
             3 LLC                             Louisville, CO 80027                       Distributed                     E/F
                                               Guarantor                                  Generation LLC
                                                                                                                         G



    2.11     CEC Solar Fund                    PO Box 270927                              Black Coral Capital,           D       2.1
             3 LLC                             Louisville, CO 80027                       LLC                             E/F
                                               Guarantor
                                                                                                                         G



    2.12     CEC Solar Fund                    PO Box 270927                              First Solar                    D       2.2
             4, LLC                            Louisville, CO 80027                       Distributed                     E/F
                                               Guarantor                                  Generation LLC
                                                                                                                         G



    2.13     CEC Solar Fund                    PO Box 270927                              Black Coral Capital,           D       2.1
             4, LLC                            Louisville, CO 80027                       LLC                             E/F
                                               Guarantor
                                                                                                                         G




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           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     CEC Solar                         PO Box 270927                              First Solar                    D       2.2
             Holdings MA,                      Louisville, CO 80027                       Distributed                     E/F
             LLC                               Guarantor                                  Generation LLC
                                                                                                                         G



    2.15     CEC Solar                         PO Box 270927                              Black Coral Capital,           D       2.1
             Holdings MA,                      Louisville, CO 80027                       LLC                             E/F
             LLC                               Guarantor
                                                                                                                         G



    2.16     Clean Energy                      PO Box 270927                              First Solar                    D       2.2
             Capital, LLC                      Louisville, CO 80027                       Distributed                     E/F
                                               Guarantor                                  Generation LLC
                                                                                                                         G



    2.17     Clean Energy                      PO Box 270927                              Black Coral Capital,           D       2.1
             Capital, LLC                      Louisville, CO 80027                       LLC                             E/F
                                               Guarantor
                                                                                                                         G



    2.18     Clean Energy                      PO Box 270927                              First Solar                    D       2.2
             Community                         Louisville, CO 80027                       Distributed                     E/F
             Holdco 1, LLC                     Guarantor                                  Generation LLC
                                                                                                                         G



    2.19     Clean Energy                      PO Box 270927                              Black Coral Capital,           D       2.1
             Community                         Louisville, CO 80027                       LLC                             E/F
             Holdco 1, LLC                     Guarantor
                                                                                                                         G



    2.20     Community Solar                   PO Box 270927                              First Solar                    D       2.2
             Platform LLC                      Louisville, CO 80027                       Distributed                     E/F
                                               Guarantor                                  Generation LLC
                                                                                                                         G



    2.21     Community Solar                   PO Box 270927                              Black Coral Capital,           D       2.1
             Platform LLC                      Louisville, CO 80027                       LLC                             E/F
                                               Guarantor
                                                                                                                         G




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           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.22     CS Solar 1, LLC                   PO Box 270927                                   Great Western Bank             D
                                               Louisville, CO 80027                                                            E/F       3.32
                                                                                                                              G



    2.23     Energy                            PO Box 270927                                   First Solar                    D       2.2
             Equipment                         Louisville, CO 80027                            Distributed                     E/F
             Limited                           Guarantor                                       Generation LLC
                                                                                                                              G



    2.24     Energy                            PO Box 270927                                   Black Coral Capital,           D       2.1
             Equipment                         Louisville, CO 80027                            LLC                             E/F
             Limited                           Guarantor
                                                                                                                              G



    2.25     Renewable                         PO Box 270927                                   First Solar                    D       2.2
             Holdings 1, LLC                   Louisville, CO 80027                            Distributed                     E/F
                                               Guarantor                                       Generation LLC
                                                                                                                              G



    2.26     Renewable                         PO Box 270927                                   Black Coral Capital,           D       2.1
             Holdings 1, LLC                   Louisville, CO 80027-2000                       LLC                             E/F
                                               Guarantor
                                                                                                                              G



    2.27     Renewable                         PO Box 270927                                   First Solar                    D       2.2
             Parent, LLC                       Louisville, CO 80027                            Distributed                     E/F
                                               Guarantor                                       Generation LLC
                                                                                                                              G



    2.28     Renewable                         PO Box 270927                                   Black Coral Capital,           D       2.1
             Parent, LLC                       Louisville, CO 80027                            LLC                             E/F
                                               Guarantor
                                                                                                                              G




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